 

12:06 P.M.

Appeal Docket Sheet
Docket Number: 617 WDA 2022

Superior Court of Pennsylvania

 

 

 

Page 1 of 2
Secure
May 26, 2022
-« CAPTION
Christine Biros
Vv.
U Lock Inc.
Appellant .
S CASE INFORMATION ©”
Initiating Document: Notice of Appeal
Case Status: Active
Case Processing Status: May 26, 2022 Awaiting Original Record
Journal Number:
Case Category: Civil Case Type(s): Declaratory Judgment
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Docket No/ Reason Type
607 WDA 2022 Related
Same Issue(s}
615 WDA 2022 Related
Same Issue(s) ul Ke C 79
SCHEDULED EVENT c
Next Event Type: Receive Docketing Statement Next Event Due Date: June 9, 2022
Next Event Type: Original Record Received Next Event Due Date: July 22, 2022
COUNSEL INFORMATION
Appellant U Lock Inc.
Pro Se: No Appoint Counsel Status: Represented
IFP Status: No
Attorney: Roth, John Allen
Bar No: 030347 <5
PACFile Registered: Yes = me
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Latrobe, PA 15650 we =e 35
Phone No: (724) 537-0939 Fax No: a - 36m
Receive Mail: Yes me SEn
Receive EMail: Yes EMail Address: lawmatters@yahoo.com ae 7 549
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Appeal Docket Sheet Superior Court of Pennsylvania
Docket Number: 617 WDA 2022
Page 2 of 2
Secure
May 26, 2022
ey --GOUNSEL INFORMATION

Appellee Biros, Christine
Pro Se: No Appoint Counsel Status: Represented
IFP Status: No

Attorney: Otto, William E.

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FEE INFORMATION *
Fee Dt Fee Name Fee Amt Receipt Dt Receipt No Receipt Amt
05/26/2022 Notice of Appeal 90.25 05/26/2022 2022-SPR-W-000356 90.25
. . AGENCY/TRIAL COURT INFORMATION |
Order Appealed From: January 24, 2022 Notice of Appeal Filed: May 23, 2022
Order Type: Order Entered
Documents Received: May 26, 2022
Court Below: Westmoreland County Court of Common Pleas
County: Westmoreland Division: Westmoreland County Civil Division
Judge: Smaii, Harry F. OTN:
Docket Number: 17 CJ 04886 Judicial District: 10
ORIGINAL RECORD CONTENT
Original Record litem Filed Date Content Description
Date of Remand of Record:
. BRIEFING SCHEDULE
None None
DOCKET ENTRY .
Filed Date Docket Entry / Representing Participant Type Filed By
May 26, 2022 Notice of Appeal Docketed
Appellant U Lock Inc.

May 26, 2022 Docketing Statement Exited (Civil)

Superior Court of Pennsylvania
